            Case 1:19-cr-00018-ABJ Document 316 Filed 02/18/20 Page 1 of 2



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
                                  Case 1:19-cr-00018-ABJ

UNITED STATES OF AMERICA,


       v.


ROGER J. STONE, JR.,

       Defendant.

__________________________________/

             DEFENDANT ROGER J. STONE'S NOTICE OF INENT TO FILE REPLY
                         MEMORANDUM REGARDING
                          MOTION FOR NEW TRIAL
                                 (Juror Misconduct)

       Pursuant to Local Criminal Rule 47(d), Roger Stone files this notice that he intends to

reply to the government’s opposition to the Amended Motion for New Trial.

       Local Rule of Criminal Procedure provides: “(d) REPLY MEMORANDUM. Within

seven days after service of the memorandum in opposition the moving party may serve and file a

reply memorandum.” Counsel for Roger Stone advises the Court that we wish to reply to the

government’s opposition to the amended motion for new trial. The reply brief will be uploaded

on February 25, 2020.
         Case 1:19-cr-00018-ABJ Document 316 Filed 02/18/20 Page 2 of 2



                                               Respectfully submitted,
                                               By: /s/_______________

ROBERT C. BUSCHEL                              BRUCE S. ROGOW
BUSCHEL GIBBONS, P.A.                          FL Bar No.: 067999
D.D.C. Bar No. FL0039                          TARA A. CAMPION
One Financial Plaza, Suite 1300                FL Bar: 90944
100 S.E. Third Avenue                          BRUCE S. ROGOW, P.A.
Fort Lauderdale, FL 33394                      100 N.E. Third Avenue, Ste. 1000
Telephone: (954) 530-5301                      Fort Lauderdale, FL 33301
Fax: (954) 320-6932                            Telephone: (954) 767-8909
Buschel@BGlaw-pa.com                           brogow@rogowlaw.com
                                               tcampion@rogowlaw.com
                                               Admitted pro hac vice

SETH GINSBERG                                  GRANT J. SMITH
299 Broadway, Suite 1405                       STRATEGYSMITH, PA
New York, NY 10007                             D.D.C. Bar No.: FL0036
Telephone: (212) 227-6655                      401 East Las Olas Boulevard
Admitted pro hac vice                          Suite 130-120
                                               Fort Lauderdale, FL 33301
                                               Telephone: (954) 328-9064
                                               gsmith@strategysmith.com


                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 18, 2020, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing document is being served this day

on all counsel of record or pro se parties identified on the attached service list in the manner

specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in

some other authorized manner for those counsel or parties who are not authorized to receive

electronically Notice of Electronic filing.


    United States Attorney’s Office for the
            District of Columbia


John D. Crabb
JP Cooney
                                                           By: /s/ Robert Buschel
                                                           ROBERT C. BUSCHEL
